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                                                                    5   Henderson, NV 89012

                                                                    6   Attorneys for Aquail Harris

                                                                    7                                 UNITED STATES DISTRICT COURT
                                                                    8                                        DISTRICT OF NEVADA
                                                                    9
                                                                          UNITED STATES OF AMERICA,                         CASE NO.: 2:17-CR-00160-JAD-VCF
                                                                   10
                                                                                             Plaintiff;
                                                                   11
                                                                                                                            STIPULATION AND PROPOSED
                                                                                vs.                                         ORDER TO CONTINUE SENTENCING
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                   12
KATHLEEN BLISS LAW PLLC




                                                                          AQUAIL JAMAR HARRIS                               (First Request)
                                                                   13
                                HENDERSON, NEVADA 89012




                                                                   14                        Defendant.
                                    TEL: 702.463.9074




                                                                   15

                                                                   16          Aquail Harris, by and through his counsel of record, Kathleen Bliss, Esq., of the law firm

                                                                   17   Kathleen Bliss Law PLLC; and the United States of America, by and through Assistant United

                                                                   18   States Attorney Phillip Smith, and Lisa Gartier-Giroux hereby stipulate and request that the Court

                                                                   19   vacate Mr. Harris’s sentencing hearing currently set for February 26, 2018 and continue it to a

                                                                   20   later date. This stipulation is made and based upon the following:

                                                                   21           1. On November 15, 2017, Mr. Harris entered a plea of guilty to the Indictment

                                                                   22                 charging him with, Interference with Commerce by Robbery, in violation 18 U.S.C.

                                                                   23                 §§ 1951, Use of a Firearm During and in Relation to a Crime of Violence in violation

                                                                   24                 18 U.S.C §§ 924(c)(1)(A) and Conspiracy to Interfere with Commerce by Robbery,

                                                                   25                 in violation of 18 U.S.C. § 1951.

                                                                   26           2. Mr. Harris is in custody pending sentencing, but he does not object to this

                                                                   27                 continuance.

                                                                   28

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                                                                    1
                                                                                3. The additional time requested by this stipulation is reasonable pursuant to Fed. R.
                                                                    2
                                                                                   Crim. P. 32(b)(2), which states that the “court may, for good cause, change any time
                                                                    3
                                                                                   limits prescribed [for sentencing] in this rule.” Furthermore, a delay in sentencing
                                                                    4
                                                                                   does not implicate or undermine the defendant’s speedy trial rights under the United
                                                                    5
                                                                                   States Constitution. See Betterman v. Montana, 136 S.Ct. 1609, 1617-18 (2016).
                                                                    6
                                                                                4. This is the first request for a continuance of the sentencing. The additional time
                                                                    7
                                                                                   requested herein is not sought for purposes of delay.
                                                                    8
                                                                                5. Denial of this request for a continuance would deny counsel for Mr. Harris sufficient
                                                                    9
                                                                                   time to effectively and thoroughly prepare for sentencing, taking into account due
                                                                   10
                                                                                   diligence. Accordingly, a denial of this request for continuance could result in a
                                                                   11
                                                                                   miscarriage of justice.
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                   12
KATHLEEN BLISS LAW PLLC




                                                                                6. Furthermore, Counsel for Mr. Harris will be in trial in United States v. Williamson
                                                                   13
                                HENDERSON, NEVADA 89012




                                                                                   2:15-cr-00127, trial is anticipated to last five to seven days. Counsel will be in
                                                                   14
                                    TEL: 702.463.9074




                                                                                   Pennsylvania for trial in the case of Commonwealth v. William H. Cosby, Jr., CP-46-
                                                                   15
                                                                                   CR-3932-2016 from March 12th through the middle of April.
                                                                   16
                                                                        Dated this 15th day of February 2018.
                                                                   17

                                                                   18   /s/ Phillip Smith             x                      Kathleen Bliss____________
                                                                        PHILLIP SMITH                                        KATHLEEN BLISS
                                                                   19   Counsel for the United States                        Counsel for Aquail Harris
                                                                   20

                                                                   21
                                                                        /s/ Lisa Gartier-Giroux       x
                                                                   22   LISA GARTIER_GIROUX
                                                                        Counsel for the United States
                                                                   23

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                                                                    1                                             ORDER
                                                                    2          Based upon the stipulation of the parties, and good cause appearing, it is hereby

                                                                    3   ORDERED that Mr. Harris’s sentencing hearing currently set for February 26, 2018, be, and the

                                                                    4   same hereby is, VACATED.

                                                                    5          IT IS FURTHER ORDERED that the sentencing hearing is reset for April 24, 2018,
                                                                                                                                              April 30, 2018 at
                                                                                                                                                              atthe
                                                                    6   the hour
                                                                        hour      of 11:00
                                                                             of _______  in a.m.
                                                                                            Las Vegas Courtroom 6D before Judge Jennifer A. Dorsey.

                                                                    7          IT IS SO ORDERED.

                                                                    8

                                                                    9          2/15/2018
                                                                        DATED: ________________

                                                                   10
                                                                                                                  _________________________________
                                                                   11                                             HONORABLE JENNIFER A. DORSEY
                                                                                                                  UNITED STATES DISTRICT JUDGE
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




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                                HENDERSON, NEVADA 89012




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